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        United States Court of Appeals
             for the Fifth Circuit
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                            No. 23-50885
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United States of America; OCA-Greater Houston,
League of Women Voters of Texas; REVUP-Texas,

                                                    Plaintiffs—Appellees,

                                 versus

Ken Paxton, Attorney General, State of Texas; Jane Nelson, in her
official capacity as Texas Secretary of State; State of Texas; Harris
County Republican Party; Dallas County Republican
Party; National Republican Senatorial Committee;
National Republican Congressional Committee,

                                                 Defendants—Appellants,

Republican National Committee,

                                         Movant—Appellant.
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              Appeal from the United States District Court
                   for the Western District of Texas
                        USDC No. 5:21-CV-844
              ______________________________

        ORDER GRANTING STAY PENDING APPEAL

Before Clement, Engelhardt, and Oldham, Circuit Judges.
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Per Curiam: *
       I. Relevant Factual and Procedural Background
       The Texas Legislature enacted the Election Protection and Integrity
Act (“S.B.1”) in 2021 in response to the myriad difficulties experienced by
election officials concerning mail-in ballots during the 2020 election cycle.
See An Act Relating to Election Integrity and Security, 2021 Tex. Sess. Law
Serv. 2nd Called Sess. Ch. 1 (West). S.B.1 requires voters to, among other
things, provide the number from a government-issued ID on any application
for a ballot by mail (“ABBM”), as well as on the envelope containing the
completed ballot. Tex. Elec. Code §§ 84.002, 86.002. Thus, a qualified
voter seeking to vote by mail must submit a signed ABBM to her county’s
early-voting clerk, and the ABBM must include a number from a government
issued ID, a partial social security number, or a statement that the applicant
lacks such ID numbers. Id. § 84.002. The early-voting clerk then evaluates
the ABBM to determine whether it complies with S.B.1’s requirements.
§ 86.001. When the qualified voter sends in her mail-in ballot, the S.B.1-
required ID number must also appear on the ballot envelope. Id. § 87.041.
Early Voting Ballot Boards (“EVBBs”) open and evaluate mail-in ballots to
determine whether they should be accepted, in part by verifying that the
ballot meets the ID number requirement. Id. § 87.041(b). Election officials
must notify the voter whether her ABBM or mail-in ballot was flagged for
rejection and must provide an opportunity for the voter to add or correct the
information. Id. §§ 86.008, 87.0411.
       The case before us involves two consolidated lawsuits. The United
States sued the State of Texas and Texas Secretary of State Jane Nelson (in

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       *
         Judge Clement does not join the order. She would have extended the
administrative stay and expedited the case to the next available merits panel.




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her official capacity). It argues S.B.1 §§ 5.07 and 5.13, which require election
officials to reject ABBMs and mail-in ballots if the ID number provided does
not match an ID number included with that voter’s registration records,
violate the Materiality Provision of § 1971 of the Civil Rights Act of 1964, see
52 U.S.C. § 10101(a)(2)(B), by requiring election officials to reject ABBMs
and mail-in ballots based on immaterial informational errors. Separately, a
group of private plaintiffs sued Secretary Nelson (in her official capacity),
Texas Attorney General Ken Paxton (in his official capacity), and several
county-level election officials (in their official capacities). The private
plaintiffs argue the entirety of S.B.1’s number matching framework violates
the Materiality Provision for reasons similar to those espoused by the United
States.
          Both the United States and the private plaintiffs moved for summary
judgment. The district court granted both motions and entered an order
permanently enjoining “the State Defendants, the Harris County Elections
Administrator, and the Travis County Clerk, their agents and successors in
office, and all persons acting in concert with them” from enforcing “the
requirements of Section 5.07 and 5.13 of Senate Bill 1 that violate Section 101
of the Civil Rights Act of 1964, 52 U.S.C. § 10101(a)(2)(B).” The scope of
the injunction is unclear, but it appears the district court’s order precludes
any Texas official from enforcing the number-matching requirements of
S.B.1 §§ 5.07 and 5.13. See District Court Order on Motion for Stay Pending
Appeal at 4 (explaining “the United States sought and obtained relief against
the entire State of Texas.”).
          Appellants sought a stay pending appeal in the district court. The
district court denied their application, so Appellants filed an emergency
motion for a stay pending appeal in this court. Because the district court
entered its order after EVBBs began processing ballots for local runoff




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elections, we administratively stayed the order. We now address Appellants’
motion for a full stay pending appeal.
                             II. Discussion
       Our “power to hold an order in abeyance” while we assess its legality
is “inherent.” Nken v. Holder, 556 U.S. 418, 426 (2009) (citation omitted).
Nken’s four-factor standard guides our analysis and requires us to consider
the following: “(1) whether [Appellants] ha[ve] made a strong showing that
[they are] likely to succeed on the merits; (2) whether [they] will be
irreparably injured absent a stay; (3) whether issuance of the stay will
substantially injure the other parties interested in the proceeding; and (4)
where the public interest lies.” Id. at 434 (quoting Hilton v. Braunskill, 481
U.S. 770, 776 (1987)); see also Vote.Org v. Callanen, 39 F.4th 297, 302 (5th
Cir. 2022). “The first two factors . . . are the most critical.” Nken, 556 U.S.
at 434. “The proponent[s] of a stay bear[] the burden of establishing its
need.” Clinton v. Jones, 520 U.S. 681, 708 (1997).
       We conclude that the Appellants’ motion should be GRANTED, so
we exercise our discretion to STAY the district court’s order and injunction
pending appeal.
             A. Appellants are Likely to Succeed on Appeal.
       At the outset, it is not even clear that § 10101 contains a private right
of action. See McKay v. Thompson, 226 F.3d 752, 756 (6th Cir. 2000)
(“Section 1971 is enforceable by the Attorney General, not by private
citizens.”); see also McKay v. Altobello, 1996 WL 635987, at *2 (E.D. La. Oct.
31, 1996) (“[42 U.S.C. § 1971] is . . . enforceable only by the Attorney
General, not impliedly, by private persons.”) (citing Good v. Roy, 459 F.
Supp. 403 (D. Kan. 1978)); Gilmore v. Amityville Union Free School Dist., 305
F. Supp. 2d 271, 279 (E.D.N.Y. 2004) (“[The] provisions [of § 1971] are only
enforceable by the United States of America in an action brought by the




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Attorney General and may not be enforced by private citizens.”) (citation
omitted). But see Schwier v. Cox, 340 F.3d 1284, 1297 (11th Cir. 2003)
(holding § 1971 can be enforced by private parties through § 1983). If that is
true, the private plaintiffs’ suit obviously fails. Nevertheless, the Attorney
General of the United States unquestionably has authority to enforce § 10101,
see 52 U.S.C. § 10101(c), so we must proceed to the merits of the parties’
arguments.
       We conclude Appellants are likely to prevail on appeal for at least
three reasons. First, the Materiality Provision precludes state officials only
from “deny[ing] the right of any individual to vote…” See id. § 10101(b).
S.B.1’s identification requirements do not deny anyone the right to vote
because they only affect the ability of some individuals to vote by mail. We
have held voting by mail is a privilege that can be limited without infringing
the right to vote. See, e.g., Tex. Democratic Party v. Abbott, 961 F.3d 389, 403–
05 (5th Cir. 2020) (citing McDonald v. Bd. of Election Comm’rs, 394 U.S. 802,
807–11 (1969)). So we think it is unlikely S.B.1 implicates the Materiality
Provision at all.
       Second, even assuming vote-by-mail restrictions implicate the
Materiality Provision, we have said only racially motivated deprivations of
rights are actionable under § 10101. See Broyles v. Texas, 618 F. Supp. 2d 661,
697 (S.D. Tex. 2009) (citing Kirksey v. City of Jackson, 663 F.2d 659, 664–65
(5th Cir. 1981)), aff’d, 381 F. App’x 370 (5th Cir. 2010) (per curiam)); see also
United States v. Mississippi, 380 U.S. 128, 138 (1965) (“Section 1971 was
passed by Congress under the authority of the Fifteenth Amendment to
enforce that Amendment’s guarantee…”); Veasey v. Abbott, 830 F.3d 216,
315 (5th Cir. 2016) (Jones, J., concurring in part and dissenting in part) (“The
Fifteenth Amendment secures the right to vote from denial or abridgment by
intentional discrimination on account of race or color.”) (citing City of Mobile
v. Bolden, 446 U.S. 55, 61–66 (1980)); Ind. Democratic Party v. Rokita, 458 F.



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Supp. 2d 775, 839 (S.D. Ind. 2006) (dismissing § 1971 suit because plaintiffs
did “not allege[], much less prove[], any discrimination based on race”),
aff’d sub nom. Crawford v. Marion Cnty. Election Bd., 472 F.3d 949 (7th Cir.
2007), aff’d, 553 U.S. 181 (2008). Neither the United States nor the private
plaintiffs allege Texas enacted S.B.1 with a discriminatory purpose, see
Appellee United States’s Opposition to Appellants’ Emergency Motion to
Stay at 11–13 (arguing the Materiality Provision is not limited to racially
motivated state action but not contending S.B.1 was racially motivated), so
we think it unlikely plaintiffs could establish that S.B.1 violates the
Materiality Provision.
       Lastly (and relatedly), S.B.1’s provisions merely require election
officials to confirm the identity of persons seeking to vote by mail by matching
their identification numbers with identification numbers in Texas’s database
of registered voters. Texans are required to present identification to vote in
person, see Appellants’ Emergency Motion to Stay at 10, and plaintiffs are
not arguing those requirements violate the Materiality Provision. There is no
reason why identification requirements in the context of vote-by-mail should
be subject to any greater scrutiny. In fact, our cases suggest precisely the
opposite. See supra. Moreover, since 2004, Congress itself has required
voters to include identification numbers on voter registration applications.
See 52 U.S.C. § 20901 et seq. So the same legislative body that enacted the
Materiality Provision clearly thinks voter identification numbers are
“material to determining eligibility to register and to vote.” Fla. State Conf.
of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1174 (11th Cir. 2008) (citation
omitted). We do not think a law requiring voters to include the same
information on mail-in voting materials that Congress itself asks voters to
include on their voter registration applications violates the Materiality
Provision.




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        At times, Plaintiffs seem to suggest the real problem with S.B.1 is that
Texas’s voter registration database is riddled with errors that will result in
the rejection of ABBMs and mail-in ballots for otherwise qualified Texas
voters. See Appellee United States’s Opposition to Appellants’ Emergency
Motion to Stay at 21. But that is not what the district court held. The district
court held S.B.1’s requirements are immaterial as a matter of law because
they do not affect a voter’s eligibility to vote. See District Court Opinion at
27. It may be that the State’s execution of S.B.1 is so flawed it unlawfully
abridges the voting rights of Texas citizens. But that seems to us a factual
question, and the State points to testimonial evidence suggesting ballot
rejection rates have not changed much—if at all—since S.B.1 was enacted.
See Appellants’ Reply in Support of Emergency Motion to Stay at 4. Because
there appears to be a genuine dispute of material fact about the practical
effect of S.B.1, it is not clear the district court have properly held at summary
judgment that the State’s execution of S.B.1 violates the Materiality
Provision.
        Thus, even if mail-in voting restrictions implicate the Materiality
Provision, and even if election rules untinged by racial motivations can violate
the Materiality Provision, we still think Appellants are likely to succeed on
the merits. We therefore conclude Appellants have carried their burden on
the first Nken factor. †
     B. The Remaining Nken Factors Support the Issuance of a Stay.
        The other Nken factors also favor granting the application for a stay.
First, Appellants carried their burden of demonstrating they will be

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          Of course, our evaluation of Appellants’ likelihood of success on the merits does
not bind a later merits panel’s evaluation of the actual merits. See, e.g., Texas Democratic
Party v. Abbott, 978 F.3d 168, 176 (5th Cir. 2020) (so noting).




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irreparably injured absent a stay. See Nken, 556 U.S. at 434. That is because
“[w]hen a statute is enjoined, the State necessarily suffers the irreparable
harm of denying the public interest in the enforcement of its laws.” Veasey v.
Abbott, 870 F.3d 387, 391 (5th Cir. 2017) (citing Maryland v. King, 567 U.S.
1301 (2012) (Roberts, C.J., in chambers)); see also Walters v. Nat’l Ass’n of
Radiation Survivors, 468 U.S. 1323, 1324 (1984) (Rehnquist, J., in chambers).
Moreover, the district court’s order will significantly disrupt the State’s
administration of current and upcoming elections. Mail-in balloting has
already begun ahead of the January 30, 2024 runoff in Texas House District
2. See Appellants’ Reply in Support of Emergency Motion to Stay at 3. And
election officials across the state are undoubtedly preparing for January 1,
when voters may submit an ABBM for the March 5, 2024 primaries. See
Important Election Dates 2023–2024, Texas Secretary of State (last
accessed Dec. 12, 2023), https://perma.cc/5A8R-KTRV. Allowing the
district court’s order would thus render substantial administrative chaos
during an election or “in the period close to an election.” Democratic Nat’l
Comm. v. Wis. State Legislature, 141 S. Ct. 28, 30–31 (2020) (mem.)
(Kavanaugh, J., concurring).
       Nor will a stay substantially injure the United States or the private
plaintiffs. See Nken, 556 U.S. at 434. The United States cannot claim to be
substantially injured by a stay of an order that likely misapplied federal law.
See supra. And a stay of the district court’s order merely maintains the status
quo that prevailed for over two years prior to the district court’s summary
judgment order. There is no reason to believe “maintenance of the status
quo” would substantially injure the private plaintiffs. E.T. v. Paxton, 19 F.4th
760, 770 (5th Cir. 2021) (quotation omitted).
       Lastly, the public interest weighs in favor of a stay. See Nken, 556 U.S.
at 434. When “[a] State”—here Texas—“is [an] appealing party, its interest
and harm merge with that of the public.” Veasey, 870 F.3d at 391 (citing Nken,



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556 U.S. at 435). Since we conclude the state would be irreparably injured
absent a stay, see supra, we also conclude a stay would serve the public
interest.
                          III. Conclusion
       We GRANT Appellants’ motion for the reasons discussed above and
exercise our discretion to STAY the district court’s order and injunction
pending appeal.




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